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		OSCN Found Document:CREATION OF TASK FORCE ON UNIFORM REPRESENTATION OF CHILDREN AND PARENTS IN CASES INVOLVING ABUSE AND NEGLECT

					

				
  



				
					
					
						
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				CREATION OF TASK FORCE ON UNIFORM REPRESENTATION OF CHILDREN AND PARENTS IN CASES INVOLVING ABUSE AND NEGLECT2019 OK 53Decided: 07/22/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 53, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



Re: CREATION OF THE TASK FORCE ON THE UNIFORM REPRESENTATION OF CHILDREN AND PARENTS IN CASES INVOLVING ABUSE AND NEGLECT; AND THE APPOINTMENT OF MEMBERS THERETO




ORDER


¶1 The Supreme Court of Oklahoma, pursuant to its general administrative authority, Okla. Const. Art. 7 §6, and in order to more fully implement SCAD-2014-06, hereby establishes the Task Force on the Uniform Representation of Children and Parents in Cases Involving Abuse and Neglect. The Task Force is charged with determining models of legal representation conducted pursuant to the Oklahoma Children's Code, to assess training, compensation, practice standards and make recommendations on the development of rules and procedures, to address uniform compensation and evaluation processes, training requirements, and improving appellate advocacy, as well as other related issues in order to protect the rights of children and parents and improve outcomes.

¶2 In order to carry out this assignment, the Task Force shall have twelve (12) members as follows:

The Honorable Michael C. Flanagan, Associate District Judge Cotton County, to serve as Chair.

Voting members:

1. The Honorable Robert A. Ravitz, Chief Public Defender of Oklahoma County

2. The Honorable Corbin C. Brewster, Chief Public Defender of Tulsa County

3. Ronald Baze, Oklahoma Department of Human Services General Counsel

4. Donna Glandon, Attorney, Lawton, OK

5. The Honorable Rebecca Gore, Associate District Judge, Mayes County

6. Lisa Bohannon, Attorney, Pryor, OK

7. Mark Morrison, Attorney, Durant, OK

8. Holly Iker, Attorney, Norman, OK.

9. Tsinena Thompson, Chairperson, OBA Juvenile Law Section

10. Michael Figgins, Executive Director, Legal Aid of Oklahoma

11. Gwendolyn Clegg, Attorney, Tulsa

12. Timothy R. Beebe, Attorney, Enid

Non-voting members: 

1. Sharon Hsieh, Deputy General Counsel of the Administrative Office of the Courts

2. The Honorable Doris Fransein, Consultant

3. Felice Hamilton, Court Improvement Program Director

4. Casey Family Program support staff

5. Julie Rorie, Attorney, Oklahoma Supreme Court

¶3 The Chair of the Task Force shall convene the Task Force with all due speed. Members appointed by the Supreme Court may be reimbursed for all expenses incurred in the performance of their duties pursuant to the State Travel Reimbursement Act. The standing meeting will be the 4th Friday of the month. The Task Force shall prepare an interim report to the Supreme Court no later than February 1, 2020, with a final report on December 1, 2020. 

¶4 DONE BY ORDER OF THE SUPREME COURT this 22nd day of July, 2019.


/S/CHIEF JUSTICE



Gurich, C.J., Darby, V.C.J., Winchester, Edmondson, Colbert and Combs, JJ., concur;

Kauger, J., not voting.



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